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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
       v.                                    :      Criminal No. 21-cr-175-6 (TJK)
                                             :
DOMINIC PEZZOLA,                             :
                                             :
                      Defendant.             :


              UNITED STATES’ OPPOSITION TO DEFENDANT’S MOTION
              FOR MISTRUIAL DUE TO THE GOVERNMENT’S IMPROPER
                      USE OF WITNESS’S PLEA AGREEMENT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this opposition to defendant Pezzola’s motion for

mistrial due to the government’s alleged improper use of a witness’s plea agreement. The

government’s use of that plea agreement was entirely proper and has been sanctioned by the D.C.

Circuit.

                                    LEGAL PRINCIPLES

       “A government witness’ guilty plea obviously may not be used as substantive evidence of

the guilt of defendants, but the plea is equally obviously admissible to show the witness’

acknowledgement of his role in the offense and to reflect on his credibility.” United States v.

Tarantino, 846 F.2d 1384, 1404-05 (D.C. Cir. 1988). The substance of a witness’s plea agreement

is admissible on direct examination, including provisions defendants have argued improperly

“bolster” a witness’s testimony. United States v. Spriggs, 996 F.2d 320, 324 (D.C. Cir. 1993).

                                         ARGUMENT

       The record, taken as a whole, shows that the government offered Matthew Greene’s guilty

plea for the permissible purposes outlined in Tarantino, Spriggs, and many similar cases from this
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and other Circuits. Pezzola makes no attempt to substantiate his bald claim to the contrary, and in

fact that claim cannot be substantiated from the record. Mr. Greene’s direct and redirect testimony

occupied approximately 195 pages of transcript. See Tr. 5323-5419; 5477-5537; 6116-6155. Of

those 195 pages, Mr. Greene’s testimony about his plea agreement covered approximately 13

pages; see Tr. 5533-5537; 6117-6119, 6126, 6129-6133.              Within those 13 pages, only

approximately 10 questions related to either the counts of conviction or the plea and sentencing

process. That minimal amount of questioning on the topics about which Mr. Pezzola complains

was further separated from any testimony from Mr. Greene regarding the actions he took in tandem

with Mr. Pezzola on January 6, 2021, and the discussions the two engaged in prior to January 6.

Immediately prior to the discussion of Mr. Greene’s plea agreement on direct, he testified about

going back to the hotel without Mr. Pezzola; the celebratory atmosphere at the hotel; and the fact

that Mr. Pezzola sent the selfie that Mr. Roots referred to in his opening statement as the “not

guilty video.” See Tr. 5526-5529. After the discussion of the plea agreement on redirect, Mr.

Greene testified about whether his actions on January 6 were his own choices or then-President

Trump’s choices, the riot in Afghanistan he witnessed, Nordean and Biggs embracing on the west

plaza, and Mr. Pezzola delivering an arts and crafts project to Proud Boys leadership, among other

things, before discussing his actions in tandem with Pezzola. See Tr. 6133-6153.

       If the facts laid out above truly established that the government’s use of the plea agreement

was a “more extreme [] case of blatantly improper use of such a plea agreement” than any

published decision in the history of the federal courts, ECF 648 at 2, then plea agreements would

be inadmissible. They plainly are not. See, e.g., Tarantino and Spriggs, supra. Moreover, as the

government argued, it is entirely permissible for the jury to consider, in weighing Mr. Greene’s

credibility, that the judge who sentences him (and who will be evaluating any motion made



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pursuant to United States Sentencing Guidelines § 5K1.1) is the same judge who is presiding over

the trial at which he testified. In any event, none of the cases cited by the defendant expressed any

concern about noting that the judge who presided over the trial took the guilty plea at issue.

       The defendant’s other factual allegations are similarly unfounded. No party—and certainly

not the government—introduced the plea to “inform the jury that the Court has already rubber

stamped conviction of the conspiracy claims in this case.” ECF 648 at 3 (emphasis in original). 1

Nor has the government “informed the jury . . . that the respected sitting judge in the trial has

approved and ruled that such a conspiracy exists.” Id. The government properly informed the jury

that Mr. Greene entered a guilty plea, including the counts of conviction, and that the plea was

entered before Judge Kelly, who would also sentence him. This type of testimony is routinely

elicited from cooperating witnesses in this district.

       Pezzola cites Tarantino’s holding that “[a] government witness’ guilty plea obviously may

not be used as substantive evidence of the guilt of defendants, but the plea is equally obviously

admissible to show the witness’ acknowledgement of his role in the offense and to reflect on his

credibility,” ECF 648 at 3; Tarantino, 846 F.2d at 1404-05, and tries to distinguish it by claiming—

again without evidence—that the defendants in that case did not sharply deny the existence of a

conspiracy among them. The defendants in that case challenged the sufficiency of evidence on

the conspiracy on appeal, so it is a fair inference that they challenged it at trial as well. See



1
         It is unclear what Pezzola is trying to assert by saying the Court rubber-stamped the plea.
The Oxford English Dictionary defines “rubber stamp” as “a person or organization that gives
automatic approval or authorization to the decisions of others, without proper consideration.” If
Pezzola were correct that the Court’s acceptance of the plea was a “rubber stamp,” that acceptance
would be afforded no weight in the jury’s consideration. The Court should similarly not give much
(if any) weight to Pezzola’s assertion that “[j]urors uniformly looked up as Judge Kelly as Greene
testified.” ECF 648 at 2. No counsel, including counsel for Mr. Pezzola, put any such observation
on the record contemporaneously, even though counsel objected to the evidence of the plea
agreement contemporaneously.
                                                  3
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Tarantino, 846 F.2d at 1393-99. 2 The D.C. Circuit still held that a witness’s plea agreement to the

same conspiracy was admissible, both as to his credibility and as to his role in the offense. The

government’s use of the agreement did not mention any of these defendants and conformed to the

uses of that agreement blessed by the D.C. Circuit.

        The defendant’s citations to out of-circuit case law are similarly unavailing. Most stand

for the general proposition—which the government does not dispute—that evidence of a

cooperating witness’s guilty plea may not be used as substantive evidence against the defendants

on trial. In both United States v. Kroh, 915 F.2d 326 (8th Cir. 1990), and United States v. Thomas,

998 F.2d 1202 (3d Cir. 1993), the defendants offered not to cross-examine the cooperating witness

on his guilty plea, to avoid the fact of the plea coming into evidence, and in Kroh the court

nonetheless upheld the admission of the guilty plea. See Kroh, 915 F.2d at 331-31 (Maj. Op.), 337-

38 (Lay, C.J. Dissenting). Thomas, which did reverse the conviction, did so specifically because

the defendant in that case offered not to cross-examine the witness regarding his plea agreement.

Thomas, 998 F.2d at 1205. The defendants have made no such offer here. 3

        Defendant Pezzola contends that mistrial is the only remedy because this trial has been

“poisoned to the core.” ECF 648 at 3, 11. The Court indicated it was more likely to give a limiting

instruction. Tr. 6066. The government does not believe that a specific limiting instruction is


2
        Even if the Tarantino defendants had not meaningfully contested the existence of a
conspiracy at trial, “the prosecution’s burden to prove every element of the crime is not relieved
by a defendant's tactical decision not to contest an essential element of the offense. In the federal
courts, a simple plea of not guilty ... puts the prosecution to its proof as to all elements of the crime
charged.” Estelle v. McGuire, 502 U.S. 62, 69-70 (1991) (quoting Mathews v. United States, 485
U.S. 58, 64–65, (1988)) (internal quotations omitted).
3
       Although the government does not expect any such concession by the defendants in this
case, we note out of an abundance of caution that we do not agree that any such concession for
any other cooperating witnesses who might take the stand would render their agreements
inadmissible.


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necessary. Instead, the Court can give an instruction on the evaluation of the testimony of a witness

with a plea agreement in final jury instructions, which can include an instruction regarding how

the jury may and may not use the plea agreements of any cooperating witnesses who take the

stand. Singling out Mr. Greene’s testimony for such an instruction days after his testimony

concluded—especially where the record does not support Pezzola’s claim of any impermissible

uses of that agreement—is both unnecessary and prejudicial to the government. 4




4
        To the extent that other defendants elicited that Mr. Greene conspired with Mr. Pezzola,
that testimony cannot be imputed to the government and cannot be used in support of any bad-
faith argument made by Mr. Pezzola. In any event, simply stating that the conspiracy to which
Mr. Greene pled guilty was one involving Mr. Pezzola would not rise to the level of using that plea
as substantive evidence of Pezzola’s guilt. See Tarantino, 846 F.2d at 1404-05 (permissible uses
include showing that the witness has acknowledged his “role in the offense” (emphasis added).
                                                 5
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                                       CONCLUSION

       This case has not been poisoned to its core. To the contrary, the government made routine,

approved-of use of a cooperator’s plea agreement. The jury will be instructed on the uses it can

and cannot make of that agreement in the final instructions. Pezzola’s motion should be denied.

                                            Respectfully Submitted,

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